IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF MISSOURI i <

WESTERN DIVISION e =

Thomas R. McLean Plaintiff ) 8 i
v. 5 Case No. 4:20-CV-598-BP

Jeffrey W. Bruce Defendant 3

DEFENDANT'S PROPOSED SCHEDULING ORDER

 

Defendant Jeffrey W. Bruce proposes the following items for inclusion in the
Court’s scheduling order. Defendant notes that Plaintiff's Proposed Scheduling

Order did not comply with the format set forth in the Court’s Order dated

10/29/2020 (ECF Doc. # 23). For ease of tracking Defendant’s different proposals,

Defendant will reply to the format in Plaintiff's submission.

1. Discovery completed by:

Defendant has no objection per se to Plaintiff's proposed date (July 1, 2022).

2 Dispositive motions by:

Defendant has no objection per se to Plaintiffs proposed date (October 1, 2022).

5 Add parties by: July 1, 2021

Plaintiffs proposed date (October 1, 2022) is after the close of discovery and is

unworkable as such.

4. Amend pleadings by: July 1, 2021

Plaintiff's proposed date (October 1, 2022) is after the close of discovery and is

unworkable as such.

5. Designate expert witnesses by: Plaintiff - November 1, 2021 and

Defendant - March 1, 2022

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Plaintiff's proposed date (June 1, 2022) is one month before the close of discovery
and is unworkable as such.

6. Trial Date: After April 2023
Plaintiff's proposed date (January 2023) is only three months after the filing of
dispositive motions and is unworkable as such. Given the substantial amount of

anticipated evidence, Defendant requests additional time for his suggestions in

opposition.
a. Estimated Trial Length: 10-15 court days
b. Jury trial requested by both parties, although Defendant would
consider waiving a jury trial and opting for a bench trial
Ts ESI

No additions/changes
8. Protective Order:

a. Defendant objects to Plaintiff's request for a Protective Order.
Such an Order is beyond the Court’s authority and jurisdiction
as Plaintiff has shown no factual or legal basis for such an
extraordinary limitation on Defendant’s property rights.
Moreover, Plaintiff has no factual or legal basis for requesting
such an Order as to a non-party. Defendant is presently
unemployed (and likely unemployable given his health issues)
and has monthly living expenses which must be paid, in

addition to tax liabilities to the IRS and MDOR.

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b. Defendant requests a teleconference with the Court anda
protective order to address the issue of Plaintiffs continuing
personal, slanderous and irrelevant attacks against Defendant
in his pleadings based on false assumptions and speculation
and conjecture. Defendant has not previously challenged such
unprofessional conduct, but enough is enough. Defendant has
attempted to confer by telephone with Plaintiff but Plaintiff
refuses to do so even when Defendant is not in a position to
respond in writing. Plaintiff's purpose seems to be a strategic
repeated effort to taint the Court’s perception of Defendant.
Defendant will be filing a motion for sanctions against Plaintiff
on the next occurrence of this conduct.

C: Defendant requests additional time to exchange his Rule 26
Initial Disclosures. Defendant’s case file is quite substantial and
will take longer to process than a normal case. In addition,

Defendant is without office assistance at this time.

Respectfully submitted

/s/ Jeffrey W. Bruce Mower
Jeffrey W. Bruce (MO # 32857)

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DEFENDANT

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Certificate of Service

I hereby certify that this pleading was served on all parties by electronic
notification pursuant to the Court’s ECF rules.

Dated 04/09/2021 /s/ Jeffrey W. Bruce wh

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